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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

ALLEN DOUGLAS HALE, UI PLAINTIFF
VS. CIVIL ACTION NO.1:16CV113-LG-RHW
CITY OF BILOXI, MISSISSIPPI;

KENNETH GARNER, Individually;

DARREN LEA, Individually; and
JOHN AND JANE DOES 1-10, Individually DEFENDANTS

AFFIDAVIT OF INVESTIGATOR DAVID SHOEMAKER

STATE OF MISSISSIPPI
COUNTY OF HARRISON

PERSONALLY APPEARED BEFORE ME, the undersigned authority in and for the
jurisdiction aforesaid, the within named Investigator David Shoemaker, who after being by me
first duly sworn stated on oath that he has personal knowledge and is competent to testify on the
following:

1. I am currently an Investigator with the Internal Affairs Division of the City of
Biloxi Police Department.

2. Iam a duly authorized custodian of records maintained by the City of Biloxi
Police Department Internal Affairs Division, and as such, have the authority to certify the videos
attached as Exhibit “C” and Exhibit “E” to the [78] Motion for Summary Judgment filed by
Defendant, the City of Biloxi, Mississippi.

3. The dash cam video/audio attached as Exhibit “C” and the taser video attached as

Exhibit “E” contains no edits.

EXHIBIT

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Gd.

DAVID SHOEMAKER, INVESTIGATOR

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